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This SEPARATION AGREEMENT (the “Agreement”) is made this/7 ih day of
April, 2017 between RAISA PLEPLER, (hereinafter referred to as “Wife”) and VLADIMIR
BINKEVICH, (hereinafter referred to as “Husband”),

WITN

ee ee Oe

WHEREAS, the parties are husband and wife and were married on June 7, 1980 in
the City of Donetsk, Ukraine, in a civil ceremony; and
WHEREAS, there are two (2) emancipated child of the marriage, and no other
children are expected; and
WHEREAS, certain unhappy and irreconcilable differences have arisen between the parties, as
a result of which they have separated and are now living separate and apart from each other,
and it is their desire to enter into an Agreement under which their respective financial and
property rights and all other respective tights, remedies, privileges and obligations to each
other, arising out of the marriage relation or otherwise, shall be fully prescribed and bounded
thereby; and |
WHEREAS, each party has been fully, separately and independently advised of his or
her legal rights, remedies, privileges and obligations arising out of their marriage relationship
or otherwise, by counsel of their own choice and selection; and
WHEREAS, the parties having had explained to them by their independent legal
counsel the provisions of New York law affecting financial and property rights of spouses,
make this Agreement in full and complete satisfaction of all claims each may have against the
other under any law: and
WHEREAS, the parties are entering into this Agreement of their own free will, without

force, coercion or duress of whatever nature; and
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WHEREAS, each of the parties fully understands the terms, covenants and conditions of
this Agreement, and is of the belief that this Agreement is fair, just, adequate and reasonable as
to each of them and is fully satisfied with its terms, and after due consideration and advice of
their attorneys, freely and voluntarily accepts and agrees to be bound by the terms, conditions
and provisions set forth herein; and

WHEREAS, the parties hereto each warrant and represent to one another that they and
each of them, fully understand all of the terms, covenants, conditions, provisions and obligations
incumbent upon each of them by virtue of this Agreement to be performed or contemplated by
each of them hereunder, and each believes the same to be fair, just, reasonable and to his or her
respective individual best interests;

WHEREAS, the parties desire that this Agreement, which is entered into after due and
considered deliberation, shall constitute an agreement between them pursuant to DRL § 236B(3)
with respect to any and all funds, assets or property of any kind or nature, wheresoever situated,
now owned by the parties or either of them, or outstanding in their respective names, or which
may hereafter be acquired by either of the parties, and with respect to all other rights and
obligations arising out of the parties’ marital relationship;

NOW, THEREFORE, in consideration of the promises and the mutual covenants and

agreements hereinafter contained, the parties hereby agree as follows:

ARTICLE I
MUTUAL RELEASE AND DISCHARGE OF GENERAL CLAIMS
1.1 Subject to the provisions of this Agreement, each party has remised, released and

forever discharged, and by these presents does for himself or herself, and his or her heirs, legal
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representatives, executors, administrators and assigns, remise, release and discharge the other of
and from all cause or causes of actions, claims, tights or demands whatsoever, in law or in
equity, which either of the parties hereto ever had, or now has, against the other or against any
entities in which either party has or had an interest except as to any cause of action arising out of
this Agreement.
ARTICLE II
MUTUAL RELEASE AND DISCHARGE OF CLAIMS IN ESTATES

2.1. Each of the parties to this Agreement desires to accord to the other the absolute
and unrestricted right, privilege and power to dispose of any and all property on death which
may belong to him or to her at such time, except as otherwise provided herein. Therefore, each
party hereby forever releases, waives or relinquishes any and all rights or claims of any kind,
character, or nature whatsoever which he or she may now have, or may hereafter acquire to the
estate, property, assets or to any other effects of the other under the present or future laws of this
or any other jurisdiction except as otherwise provided herein: and

2.2. Each party hereby forever waives the right to share in any wrongful death
recovery for their respective spouse's death. Each spouse shall be deemed disqualified to share in
any recovery from wrongful death under Section 5-4.4 of the ESTATES, POWERS AND
TRUSTS LAW of the State of New York, or any successor thereto, or similar or subsequently
enacted statutes,

ARTICLE I]
SEPARATE RESIDENCES
3.1 It is, and shall be, lawful for the parties hereto at all times to live separate and

apart from each other and to reside from time to time at such place or places as each of such |
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parties may deem fit, and to contract, carry on, and engage in any employment, business, or trade
which either may deem fit, free from control, restraint or interference, direct or indirect, by the
other in all respects as if such parties were single and unmarried,

3.2 Neither party shall in any way molest, disturb or trouble the other or interfere with
the peace and comfort of the other or compel or seek to compel the other to associate, cohabit or
dwell with him or her by any action or proceeding for restoration of conjugal rights or by any
means whatsoever.

ARTICLE IV
RESPONSIBILITY FOR DEBTS

4.1. Other than the existing mortgage on the Residence which shall become the Wife’s
sole responsibility as set forth in Section 5.2.2, the parties tepresent that there are no joint debts
between them. Each party shall be responsible for any debt and/or liability in his or her name,
and each agrees to indemnify and hold the other harmless from any and all claims and damages
arising from breach of this provision, including reasonable attorneys’ fees,

4.2, Subject to the provisions of this Agreement, the Husband covenants and
represents that he has not heretofore, nor will he hereafter, incur or contract any debt, charge or
liability whatsoever for which the Wife, her legal representatives or her property or estate, may
become liabie; and the Husband further covenants to keep the Wife free, harmless and
indemnified of and from any and all debts, charges or liabilities hereafter contracted by him for
himself or for the account of any other person.

4.3. Subject to the provisions of this Agreement, the Wife covenants and represents
that she has not heretofore, nor will she hereafter, incur or contract any debt, charge or hability

whatsoever for which the Husband, his legal representatives or his property or estate, may
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become liable; and the Wife further covenants to keep the Husband free, harmless and
indemnified of and from any and all debts, charges, or liabilities hereafter contracted by her for
herself or for the account of any other person,
ARTICLE V
SEPARATE OWNERSHIP AND EQUITABLE DISTRIBUTION

5.1. Except as hereinafter set forth, all of Husband’s interest in any marital property
including all assets and liabilities related to such marital property shall be transferred herewith to
the Wife and the Husband acknowledges that he has no tight, title or interest in any of said
marital property.

5.2. 428 Ovington Avenue, Unit 3A, Brooklyn, New York 11209,

5.2.1. The Husband and the Wife was a titleholder to the marital residence, a property
located at 428 Ovington Avenue, Unit 3A, Brooklyn, New York 11209 (hereinafter the
“Residence”).

3.2.2. The Wife shall have all responsibility for the mortgage and all debts and liabilities
related to the Residence. Upon any sale of the Residence, the Wife shall receive all proceeds
from the sale of the Residence, Notwithstanding the foregoing, the Husband shall have the right
to remain and reside in the Residence until such sale is consummated,

5.3. Pension and Retirement Account

5.3.1. Each party hereby waives his or her respective rights to the other party’s pension,
profit-sharing, 401K, Keogh, IRA plan, employee stock ownership, stock bonus or other
retirement or other employee benefit or retirement plan pension, profit-sharing, 401K, Keogh,
IRA plan, employee stock ownership, stock bonus or other retirements or employee or retirement

plan (a “Pension or Retirement Plan”). With respect to any interest of a party to this Agreement
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(“Participant”) under such Pension or Retirement Plan, which requires the consent (written or
verbal) of the Participant’s spouse in order to designate a person other than the Participant's
spouse as the beneficiary of any benefits thereunder, including, but not limited to, a joint and
survivor annuity form of benefit, whether distributable before or after any particular age or even,
each party to this Agreement hereby agrees to execute and acknowledge such spousal consent(s)
as the Participant shall request at any time effectively to permit Participant, his or her sole
absolute discretion, to designate any person or entity as the beneficiary and/or select the method
of distribution of benefits thereunder, whether distributable before or after any particular age or
event, and to change such designation of beneficiary or method of distribution there-after without
obtaining the consent of the Participant’s spouse to such further changes,

5.3.2. Each party acknowledges that he or she understands the effect of the other
elections and his or her consent thereto, Each party further agrees that in the event of the death
of the Participant prior to such consents having been given by the other party, if required such
other party shall cooperate with the estate of the Participant fully to effectuate the intent of this
Article, including, but not limited to, the execution and/or acknowledgment of any written
consents that may be necessary. Should the Husband or Wife fail to change the beneficiary
designation information with the plan administrator or financial institution relative to any
retirement asset, and the other party remains, in whole or in part, the named beneficiary of any
retirement asset, upon the Husband’s or Wife’s death, the other party nonetheless agrees to
renounce and disclaim any interest therein, and that said proceeds shall return to the estate of the
deceased party, Either party shall be free to supersede the effect of the preceding sentence by
making specific provision for the other in a Last Will and Testament executed after the date

hereof,
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2.4, Personal Property:
5.4.1. The Wife shall retain all of the furnishings, art and other personal property at the
Residence, free from any claim of the Husband.

5.5. Bank Accounts

5.5.1. Upon the execution of this Agreement, the party holding title to any bank
or investment accounts shall maintain sole and exclusive ownership of said accounts and the
non-titled spouse waives his/her right, title and interest to said accounts.

5.5.2. Each party’s past, present and future assets, income and earnings, academic
degrees, certificates, licenses, memberships, achievements and careers, professional and
executive goodwill, career enhancement, earning potential, earning capacity, enhanced earnings,
and enhanced earning capacity shall be that party’s sole and exclusive property, and the other
party waives and relinquishes any and all claims, rights, title and interest in and to, and accepts
the provisions of this Agreement in full settlement of all claims to, such property.

5.6. The parties acknowledge and recognize that all payments and transfers to be made
pursuant to this Article represent and constitute a property settlement between spouses, and, as a
result, none shall be included in the recipient/transferee’s gross income under Section 71 of the
Internal Revenue Code of 1986, as amended, and shall not be allowable as deduction to the
payer/transferor under Section 215 thereof (and the corresponding provisions of applicable State
and local tax laws). The parties further acknowledge that as a result thereof, no federal, state or
local tax consequences shall occur as a result of any of the payments and/or transfers between the
parties pursuant to this Article, but that any tax consequences incurred in the future as a result of
the sale or transfer of property or other assets to third parties shall be borne solely by the party in

whose name title is held.
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5.6.1. Each party accepts the provisions herein contained as a full and final settlement
and satisfaction of any and all claims and rights that she or he may now or hereafter have against
the other for equitable distribution and/or a distributive award of marital property under the
DRL, EDL or any applicable past, present or future law of this or any other jurisdiction. Each
party represents that the terms of the Agreement represent an equitable distribution of their
mariial property in view of the monetary and non-monetary contributions made by each of them
to the acquisition of marital property, contributions of their time and energy, and the

considerations set forth in the DRL and the EDL.

ARTICLE VI
IMPLEMENTATION
6.1 The Husband and Wife shall at any and all times, upon request by the other party
or his or her legal representatives, make, execute and deliver any and all such other and further
instruments as may be necessary or desirable for the purpose of giving full force and effect to the

provisions of this Agreement, without charge therefor.

ARTICLE VII

INCOME TAX RETURNS

7.1 The parties have heretofore filed joint income tax returns with the federal, state
and local taxing authorities and shall continue to do so until the parties obtain a judgment of
divorce or a party’s death.

ARTICLE VIII

SPOUSAL SUPPORT AND MAINTENANCE
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8.1.

Each party has been provided with full knowledge of the law which affects spousal

support, maintenance and alimony in New York, including, without limitation, the following

statutory factors set forth in Section 236(B)(6) of the DRL which courts consider in determining

maintenance awards:

8.2,

(i) the income and property of the respective parties including marital property

distributed pursuant to subdivision five of DRL Section 23 6(B);

(ii) the duration of the marriage and the a ge and health of both parties;

(iii) the present and future earning capacity of both parties;

(iv) the ability of the party seeking maintenance to become selfsupporting and,

if applicable, the period of time and training necessary therefore; reduced or lost

lifetime earning capacity of the party seeking maintenance as a result of having

foregone or delayed education, training, employment, or career opportunities durin g

the marriage;

(v} presence of the child of the marriage in the respective homes of the parties;

(vi) the tax consequences to each party;

(vii) contributions and services of the party seeking maintenance as a spouse,

parent, wage earner and homemaker, and to the career or career potential of the

other party; the wasteful dissipation of marital property by either spouse;

(viii) any transfer or encumbrance made in contemplation of a matrimonial

action without fair consideration; and

(ix) any other factor which the court shall expressly find to be just and proper.

The Husband shall make no payment for spousal support and maintenance.
ARTICLE IX

MEDICAL INSURANCE AND RELATED EXPENSES

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9.1 The Husband shall continue to maintain medical/dental insurance coverage for the
Wife, namely CIGNA, ID Number U12507220 01; However each party shall pay his/her
premium of such medical/dental coverage.

ARTICLE X
DEFAULT

10.1 Ifeither party (the “defaulting party”) shall default with respect to any payment or
obligation due to the other party (the “other party”) under this Agreement and said default shall
not be remedied within thirty (30) days after the other party shall send written notice, by certified
or overnight mail, to the defaulting party specifying such default, the defaulting party agrees to
indemnify the other party against, and to reimburse the other party for, any and all expenses,
costs and reasonable attorneys’ fees incurred by the other party, resulting from or made
necessary by reason of the other party's action, motion or other proceeding, to enforce any of the
terms, covenants or conditions of this Agreement to be performed or complied with by the
defaulting party, or to enforce any of the other party's rights to recover any amount to be paid to
the other party by the defaulting party pursuant to this Agreement, provided that such action or
other proceeding shall result in a judgment, decree or order in favor of the other party,

10.2 For the purposes of this Agreement, it is understood and agreed that in the event
that the other party shall institute an action, motion or other proceeding against the defaulting
party to enforce any of the terms, covenants or conditions of this Agreement, and after the
institution of such action, motion or proceeding; and before Judgment shall or can be entered, the
defaulting party shall comply with such term or condition of the agreement, then and in that
event, the action, motion or proceeding instituted by the other party shall be deemed to have

resulted in a judgment, decree or order in favor of the other party.

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ARTICLE XI
FULL DISCLOSURE
11.1 Each of the parties represents that both the legal and practical effect of this

Agreement in each and every respect, and the financial status of each has been fully discussed by
and between both of them and explained to them by their respective attorneys of their own free
choosing; further, that each of the parties fully understands the facts and circumstances involved
herein and has been fully informed of his and/or her respective legal rights, benefits and
liabilities; each party has received advice and counsel from his or her respective attomeys, and
the parties believe that this is a fair, just and reasonable Agreement; that the same has not been
entered into as a result of any fraud, duress or undue influence exercised by either party upon the
other or by any other person or persons upon either of them.

11.2 That each has had full and complete discovery as required and time and
opportunity to have such disclosure as each deemed necessary, and does hereby unequivocally
waive any further or other disclosure.

ARTICLE XII
MODIFICATION AND WAIVER

12.1 Neither this Agreement, nor any provision hereof, shall be amended or modified,
or deemed amended or modified, except by an Agreement in writing duly subscribed and
acknowledged with the same formality as this Agreement. Any waiver by either party of any
provision of this Agreement or any right or option hereunder shall not be deemed a continuing
waiver and shall not prevent or stop such party from thereafter enforcing such provision, right or
option, and the failure of either party to insist in any one or more instances upon the strict

performance of any of the terms or provisions of this Agreement by the other party shall not be
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construed as a waiver or relinquishment for the future of any such term or provision, but the
same shall continue in full force and effect,
ARTICLE XIII
LEGAL INTERPRETATION
13.1 All matters affecting the interpretation of this Agreement and the rights of the
parties hereto shall be governed by the laws of the State of New York.
ARTICLE XIV
POSSIBLE INVALIDITY
14.1 In case any provision of this Agreement should be held to be contrary to or
invalid under the law of any country, state or other jurisdiction, such illegality or invalidity shall
not affect in any way any other provision hereof, all of which shall continue, nevertheless, in full

force and effect in any country, state or jurisdiction in which such provision is legal and valid.

ARTICLE XV
RECONCILIATION AND MATRIMONIAL DECREE

15.1. This Agreement shall not be invalidated or otherwise affected by a reconciliation
between the parties hereto, or a resumption of marital relations between them. This Agreement
shall not be invalidated or otherwise affected by any decree or judgment of separation or divorce
made by any court in any action which may presently exist or may hereafter be instituted by
either party against the other for a separation or divorce, and the obligations and covenants of
this Agreement shall survive any decree or judgment of separation or divorce and shall not
merge therein, and this Agreement may be enforced independently of such decree or Judgment.

15.2 Both parties agree, stipulate and consent that no judgment, order or decree in any

action for divorce or separation, whether brought in the State of New York, or in any other state

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or country having jurisdiction of the parties hereto shall make any provisions or affect the
property rights of either party inconsistent with the provisions of this Agreement, but if any
provision be made in any judgment, order or decree which is inconsistent with the provisions of
this Agreement, or imposes a different or greater obligation on either of the parties hereto than
provided in this Agreement, the provision of this Agreement shall take precedence and shall be
the primary obligation of both parties hereto, It is further agreed that upon the trial of the within
action or any other matrimonial action between the parties in any court of competent jurisdiction,
the party instituting such action shal! provide that the provisions of this Agreement be entered
into the record of such action as an Agreement between the parties of all issues covered herein,
and shall survive and shall not be merged into the divorce decree, and that the entire Agreement
shall be placed into evidence and a copy of said Agreement shall be presented to the Court. It is
expressly understood that the terms and conditions of this Agreement are to be incorporated into
any subsequent divorce decree and shall not be merged therein but shall survive such decree of
divorce.

15.3 Notwithstanding the above, in the event that the parties hereafter reconcile and
resume cohabitation with one another under circumstances evincing an intent to abandon this
agreement or; if'the parties, subsequent to the granting of a divorce dissolving their marriage,
thereafter, remarry each other, the terms and conditions of this Agreement shall not be vitiated or
rendered nugatory, but the terms and conditions of this Agreement shall be deemed an
Agreement during marriage pursuant to Domestic Relations Law, Section 236, Part B, subd. 3,
and shall be in full force and effect in the event of the subsequent physical separation of the
parties, or subsequent divorce or legal separation of the parties.

ARTICLE XVI
LEGAL REPRESENTATION AND FEES

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16.1 Each party represents that he or she has afforded the other and her respective
counsel full and complete access to all information concerning that party's assets, property and
income, Each party has made independent inquiry into the complete financial circumstances of
the other, and acknowledges that he or she is fully informed of the income, assets and financial
prospects of the other, is aware of all separate property and all marital property as defined in
Section 236 of the Domestic Relations Law, and is satisfied that full disclosure has been made.

16.2 The Wife has been represented by the law firm of Beress & Zalkind PLLC. The
Husband has waived representation after being fully informed of all matters relating to this
Agreement.

16.3 Each party acknowledges that all of the matters embodied in this Agreement,
including all terms, covenants, conditions, waivers, releases and other provisions contained
herein, are fully understood by him or her; that he or she is entering into this Agreement freely,
voluntarily and after due consideration of the consequences of doing so; and that this Agreement
is valid and binding upon him or her.

16.4 The parties acknowledge that there may be certain tax consequences pertaining to
the Agreement, that each party has been offered full opportunity to obtain independent tax advice
from qualified tax accountants or tax counsel regarding all the terms and provisions of the
Agreement as well as said tax consequences prior to each of them signing the Agreement. The
Wife's attorneys have informed the respective parties that they are not qualified tax experts by
reason of training or experience. Each party has explicitly and positively declined to obtain such
independent tax advice prior to each of them executing the Agreement.

16.5 Each party acknowledges that the provisions of the Agreement are fair, adequate

and reasonable, are fully satisfactory to each of them, not unconscionable, to their respective best

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interests, and each accepts the same in full and final settlement and satisfaction of any and all
claims and rights that each may now or hereafler have against the other for spousal support and
maintenance or alimony, equitable distribution, distributive award or otherwise.

16.6 Each party represents that he or she has catefully read the Agreement and
understands its provisions. Each party acknowledges that he or she is entering into the
Agreement of his or her own free will and not as a result of undue influence, coercion or duress.

ARTICLE XVII
ENTIRE UNDERSTANDING

17.1 This Agreement contains the entire understanding of the parties who hereby

acknowledge that there have been and are no representations, warranties, covenants or

understandings other than those expressly set forth herein.
ARTICLE XVII

GENERAL PROVISIONS

18.1. This Agreement and all the obligations and covenants hereunder shall bind the
parties hereto, their heirs, executors, administrators, legal representatives and assigns and shall
inure to the benefit of their respective heirs, executors, administrators, legal representatives and
assigns.

18.2. This Agreement and its provisions merge all prior agreements, if any, of the
parties and is the complete and entire agreement of the parties. The parties intend this
Agreement to supersede any and all agreements made or heretofore entered into by them, and
further agree that this Agreement shall constitute a final and definitive agreement pursuant to

Domestic Relations Law Section 236(b)(3). No modification or waiver of this Agreement or any

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part thereof shall be valid or effective unless in writing and signed and acknowledged by both of
the parties, and no waiver of any breach or condition or this Agreement shall be deemed to be a
waiver of any other or subsequent breach or condition, whether of like or different nature.

18.3. This Agreement and all of the rights and obligations of the parties hereunder
shall be governed by and construed in accordance with the laws of the State of New York.

18.4, Each of the parties hereto, without cost to him or to her, shall at any time and
from time to time hereafter, execute and deliver any and all further instruments, documents and
assurances and perform any acts that the other party, or his or her agent or legal representative,
may reasonably request for the purpose of giving full force and effect to the provisions of this
Agreement.

18.5. In the event that any term, provision, paragraph or Article of this Agreement is,
or is declared, illegal, void or unenforceable, the other terms, provisions, paragraphs or Articles
of this Agreement shall not be affected or impaired. The doctrine of severability shall be
applied. The parties do not intend by this statement to imply the illegality, voidness or
unenforceability of any term, provision, paragraph or Article of this Agreement.

18.6. This Agreement embodies all understandings and agreements between the parties
and is intended to supersede any and all rights either party might have under Part B of Section
236 of the Domestic Relations Law. And, except as herein provided, each of the parties hereto
hereby waives and releases any and all rights and claims of every kind, nature or description that
either of them may now have or may acquire in the assets of the other by reason of Section 236

of the Domestic Relations Law and any law amendatory thereto in this or any other jurisdiction,

domestic or foreign. There are no representations, promises, warranties, covenants or

understandings other than those expressly sct forth herein,

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18.7. All notices or other communications by either party required under this
Agreement, shall be in writing and sent to the other party by overnight mail or by certified or
registered mail, return receipt requested, addressed to the other party at his or her address as set
forth at the outset of this Agreement, unless such party shall give notice of a change in his or her
address by like overnight mail or by certified or registered mail. A written notice whose receipt
is acknowledged in writing signed by the party to whom the notice is addressed, shall be
sufficient hereunder and need not be sent by certified or registered mail.

18.8. Should any of the provisions of this Agreement require judicial interpretation, it is
agreed that the court interpreting or construing the same shall not apply a presumption that the
terms of any provisions shall be more strictly construed against one party by reason of the rule of
construction that a document is to be construed more strictly against the party who itself or
through its agent prepared the same, it being agreed that both parties and their respective agents,
if any, have participated in the preparation of this Agreement.

18.9. The headings and captions of Articles and paragraphs of this Agreement are
inserted solely for the convenience of reference and shall have no force or effect in connection
with the enforcement or interpretation of this Agreement.

18.10. This Agreement shall be executed in four (4) counterparts, any one of which may
be deemed an original.

18.11. This Agreement shall become effective when duplicate original Agreements are
executed and acknowledged and exchanged by the parties,

18.12. Each party hereby acknowledges he or she is entering into this Agreement

knowingly and freely and not as the result of any fraud or duress.

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IN WITNESS WHEREOF, the parties and their attorneys hereto have hereunto set

their respective hands and signed this Agreement this day, month and year first above set

 

 

forth.

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bars ie Fleg fel ‘Mal tier Ayy KA wes
RAISA PLEPLER, Wife VLADIMIR BINKEVICH, Husband
Witness for Wife: Witness for Husband:

Lb pap- DOR Lip! LRIVA Dvopk LA/

 

STATE OF NEW YORK  )

COUNTY OF Ange )

On the | cof day of Beri in the year 2017, before me, the undersigned, a
notary public in ahd for said state, personally appeared VLADIMIR BINKEVICH, personally
known to me or proved to me on the basis of satisfactory evidence to be the individual whose
name(s) is (are) subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in his/her/their capacity(ies), and that by his/her/their signature(s) on the
instrument, the individual(s), or the person upon behalf of which the individual(s) acted,
executed the instrument.

58.2

 

Notary’Public

VIKTORIA A, BERESS
“Notary Public, State of New York
. No. O2BES112011
STATE OF NEW YORK ) Qualified in Richmond County oD

8S.: My Commission Expires July 12, 20,20

COUNTY OF Awas )

On the ro day of Rent in the year 2017, before me, the undersigned, a
notary public in and for said state, personally appeared RAISA PLEPLER, personally known to
me or proved to me on the basis of satisfactory evidence to be the individual whose name(s) is
(are) subscribed to the within instrument and acknowledged to me that he/ she/they executed the

same in his/her/their capacity(ies), and that by his/her/their si gnature(s) on the instrument, the

individual(s), or the person upon behalf of which the individual(s) acted ted the
instrument. LZLVED

Notary Public

VIKTORIA A. BERESS
Public, State of Naw York
No, 0286112811
-18- Quaiifad In Richmond County 9
My Gorar.acion Expizes July 12, 20

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ADDENDUM TO SEPARATION AGREEMENT DATED APRIL 17,2017

IT IS HEREBY STIPULATED AND AGREED by and between Raisa Plepler hereinafter
referred to as “Wife” and Vladimir Binkevich, hereinafter referred to as the “Husband”, that the

within action is hereby settled upon the following terms and conditions:

WHEREAS, the parties hereto were duly married to each other on the 7 day of June ,

1980 in a civil ceremony in the City and Donetsk, in the Country of Ukraine: and

WHEREAS, there are two (2) emancipated children of said marriage, to wit: Dmitry

Binkevich and Stella Binkevich; and
WHEREAS, there are no unemancipated children of said matriage: and

WHEREAS, there are no additional Children of the Matriage and none are expected; and

WHEREAS, the original separation agreement was executed on April 17, 2017 and the
Wife herein has been previously represented by the Law firm of Beress & Zalkind PLLC. The

Husband have been and continues to appear pro se after having been informed that he has a right

to be represented by counsel in this maiter,

WHEREAS, the Wife having been fully, separately and independently apprised and
advised of her legal rights, remedies, privileges and obligations, arising out of the marital

relationship, or otherwise, by counsel of her own choice and selection; and

WHEREAS, the Husband having been fully, separately and independently apprised and

advised of her legal rights, remedies, privileges and obligations, artsing out of the marital

 

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relationship, or otherwise, and having been informed of the her right to retain counsel in this

action and having proceeded pro se of her own choice and volition; and

WHEREAS, the parties having entered into a Separation Agreement on April 17, 2017;

and

WHEREAS, each party entered into Separation Agreement on April 17, 2017 with full
knowledge of all the interests, rights and privileges to the property and estate of the other which
were conferred by law by virtue of their marriage, and each party was fully satisfied to accept the
provisions of the Separation Agreement on April 17, 2017 in lieu and in full discharge,

settlement and satisfaction of any and all such interests, rights and claims; and

WHEREAS, the parties hereto each warranted and represented to each other that they,
and each of them, fully understood and still understand all of the terms, covenants, conditions,
provisions and obligations incumbent upon each of them by virtue of the Separation Agreement
on April 17, 2017, to be performed or contemplated by each of them hereunder and each party
believes the same to be fair, just, reasonable and to his or her respective individual best interests

and the best interests of the Child, and

WHEREAS, the parties are entering into the herein Addendum to the Separation
Agreement of July oF , 2019, which shall modify the terms of the Separation Agreement of

April 17 , 2017; and

WHEREAS, each party is entering into the herein Addendum to the Separation
Agreement of July Os » 2019 with full knowledge of all the interests, rights and privileges to the
property and estate of the other which are conferred by law by virtue of their marriage, and each

party has been fully satisfied to accept the provisions of the herein Addendum to the Separation

  

       

 

     

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Agreement of July a5. 2019 in licu and in full discharge, settlement and satisfaction of any and

all such interests, rights and claims; and

WHEREAS, the parties hereto each warranted and represent to each other that they, and
each of them, fully understand all of the terms, covenants, conditions, provisions and obligations
incumbent upon each of them by virtue of the herein Addendum to the Separation Agreement of
July 05 | 2019, to be performed or contemplated by each of them hereunder and each party
believes the same to be fair, just, reasonable and to his or her respective individual best interests

and the best interests of the Child ( ren), and

NOW, THEREFORE, in consideration of the covenants and promises contained herein,

the parties hereto mutually stipulate and agree as follows:

ARTICLE I

Except as modified in the herein Addendum to the Separation Agreement of July é: 5
2019, (hereinafter referred to as the “Addendum”) all of the terms, conditions, agreements and

stipulations of the parties’ previously executed Separation Agreement, dated April 17, 2017

(hereinafter referred to as the “ Separation Agreement ”) shall remain in full force and effect.

 

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ARTICLE II

The Agreement shall be amended in that WHEREAS CLAUSE number 3 on page 1
which reads as: “WHEREAS, certain unhappy and irreconcilable differences have arisen
between the parties, as a result of which they have separated and are now living separate and

apart from each other.,....

This clause is hereby modified and shall be read as follow:

“WHEREAS, certain unhappy and irreconcilable differences have arisen between the parties,
however, although parties have lived separate and apart as pertaining to their finances, tax
responsibilities and social lives, the parties have never physically separated for reasons of

financial hardship, and neither party have moved out of their residence at any point, and to

present time. Parties have been residing in same residence located at 428 Ovington Avenue,

Unit 3A, Brooklyn, New York 11209”,

 

 
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ARTICLE III

3.1 The Stipulation shall be amended in that:
Paragraph “4,1” of * Article IV : Responsibility for Debts”

in the original separation agreement, which reads:

“Other than the existing mortgage on the Residence which shall become the Wife’s sole
responsibility as set forth in section 5.2.2, the parties represent that there are no joint debts

between them.

is hereby modified and should read as follow:

A. The Wife shall be solely responsible for the original mortgage held at
Wells Fargo Home Mortgage Bank, loan Number 0328503982, and
the Husband shall be solely responsible for the Wells Fargo Home
Equity Line of credit, consisting of account number 68317900051998
and account number 68317900051001. The Husband shall indemnify
the Wife and hold the Wife harmless from any and all responsibilities
and from any liabilities that may arise from Wells Fargo Bank , under
account number 68317900051998 and account number
68317900051001. The Husband shall indemnify and hold harmless the
Wife in connection with any additional expenses and payments related
to said accounts, or any and all additional debts and/or liabilities other

then stated in this paragraph at the date of the execution of this

 

 

 

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Addendum,
ARTICLE IV
4.1 The Stipulation shall be amended in that:

Paragraph “5.1” of “ Article V: Separate Ownership and Equitable Distribution” in

the original separation agreement which reads:

“Except as hereinafter set forth, all of Husband’s Interest in any marital property
including all assets and liabilities related to such property shall be transferred herewith
to the Wife and the Husband acknowledges that he has no right title or interests of said

marital property”
Shall be null and void nor shall be enforceable in any way.

Paragraph “5.2.2” of “ Article V: Separate Ownership and Equitable Distribution” j

the original separation agreement which reads:

“The wife shall have all responsibility for the mortgage and all debts and liabilities
related to the residence, Upon any sale of the Residence, the Wife shall receive al]

proceeds from the sale of the Residence “

Shall be modified and read as follows:

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“The parties acknowledge and agree that they are the owners, as tenants by the entirety,
of the marital premises located at 428 Ovington Avenue, Unit 3A, Brooklyn, NY I 1209,

New York (hereinafter referred to as the Property”).

The parties, having considered the circumstances of their marriage and the factors set
forth for the equitable distribution of property in N.Y. Dom. Rel. Law § 236(B)(5),

hereby agree as follows with respect to the division of their real property:

Within 30 days from the date of entry of divorce, parties will be entitled to their 50%
share of the proceeds from the sale of the property and the proceeds thereof shall be
disbursed equally and divided between the Husband and the Wife or upon mutual

agreement one party may buy out the other parties 50% share of property interest.”

Paragraph “5.5.1” of “ Article V: Bank Accounts” in the original separation
agreement which reads:

" Upon the execution of this Agreement, the party holding title to any bank or
investment accounts shall maintain sole and exclusive ownership of said accounts and

the non-titled spouse waives his/her ri ght, title and interest to said accounts. "

Shall be modified and read as follows:

" Parties have maintained separate bank accounts as of J anuary 2017, and there
are no jointly held accounts and or interests held by the parties. All finances in all bank

accounts held in their each individual name, separate and apart from another"

  

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ARTICLE V

5.1 The Stipulation shall be amended in that:

Article VIL, of the Separation Agreement which reads: “The Parties heretofore file joint
income tax returns with federal, state and loca] taxing authorities and shall continue to do so

until the parties obtain judgment of divorce or a party’s death”,

The above paragraph is hereby changed, and shall hereafter be and read as follows:

“Parties have been filling their respective income tax returns with federal, state ad local

taxing authorities as matried, filling separately commencing year 2016”

ARTICLE VI

DISCLOSURE

6. This Addendum is entire and complete and embodies all understandings and
stipulations between the parties; and no representations, stipulations, promises, undertakings or
warranties of any kind or nature have been made to the other to induce the making of this
Addendum, except as is expressly set forth in this Addendum and in the Separation Agreement

on April 17,2017; nor any other document executed simultaneously herewith, and neither of the

 

 

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parties shall assert to the contrary that there is any other prior Addendum or Separation
Agreement oral or written, existing between them. The parties acknowledge that each has had a
full and complete opportunity with respect to obtaining any and all financial information of the
other, and each party has knowingly waived such and each party is satisfied, that this Addendum
as well as the Separation Agreement embodies all of the terms and provisions hereof, are fair and
equitable, Each party is aware and has been informed that under the law they have financial
discovery rights of the other party's finances. Each party expressly represents that they have not
relied upon any representations of the other except as set forth in this Separation Agreement. The
- parties acknowledge that they are entering into this Addendum freely and voluntarily; that they
have ascertained and weighed, to their complete satisfaction, all of the facts and circumstances
likely to influence their judgment; that they have sought and obtained legal advice independently
of each other; and that they have been duly apprised of their respective legal rights and each has
had the provisions hereof fully explained to them, and specifically of their rights under the
existing laws of the State of New York as effective on and after July 19, 1980, concerning
marital property, separate property, and other financial matters; that all the provisions hereof, as
well as all questions pertaining thereto, have been fully and satisfactorily explained to them; that
they have given due consideration to such provisions and questions; and that they clearly
understand and assent to all the provisions hereof, and that this Addendum as well as the

Separation Agreement constitutes a fair and adequate settlement,

   
  

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ARTICLE VII

RECONCILIATON AND MATRIMONIAL DECREES

7.1 This Addendum shall not be invalidated or otherwise affected by a reconciliation
between the parties hereto, or a resumption of marital relations between them unless said
reconciliation or said resumption be documented by a written statement executed and
acknowledged by the parties with respect to said reconciliation and resumption, and, in addition,
setting forth that they are canceling this Addendum, and this Addendum shall not be invalidated
or otherwise affected by any decree or Judgment of separation or divorce made in any Court in
any action which may presently exist or may hereafter be instituted by either party against the
other for a separation or divorce, and the obligations and covenants of this Addendum shall
survive any decree or judgment of separation or divorce and shall not merge therein, and this

Addendum may be enforced independently of such decree or judgment.

7.2 Both parties agree, stipulate and consent that no judgment, order or decree in any
action for divorce or separation, whether brought in the State of New York, or in any other state
or country having jurisdiction of the parties hereto, shall make any provision for maintenance or
affect the property rights of either party inconsistent with the provisions of this Addendum, but if
any provision be made in any judgment, or decree which is inconsistent with the provisions of
this Addendum, or imposes a different or greater obligation on either of the parties hereto than
provided in this Addendum, the provisions of this Addendum shall take precedence and shall be
the primary obligation of both of the parties hereto. Tt is further agreed that upon the trial of any

action which may hereafter be instituted by either of the parties against the other for an absolute

 

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divorce in any court of competent jurisdiction, the party instituting such action shall read the
provisions of this Addendum relating to the custody, maintenance and support into the record of
such action as a stipulation between the parties as to the question of maintenance and support,
and the custody of the issue of said marriage, Such party shall further request that the decree
shall contain a provision specifically reciting, in words or substance, “Said Addendum of the
Separation Agreement is not merged in, but survives this decree, and the parties thereof are

hereby ordered to comply with it on its terms at all times and places.”

     

 

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ARTICLE VIII

INDEPENDENT COVENANTS

8. Each of the respective rights and obligations of the parties hereunder shall be deemed

to be independent and may be enforced independently, irrespective of any of the other rights and

obligations set forth herein,

 

 

 

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ARTICLE IX

POSSIBLE INVALIDITY

9. In case any provision of this Addendum should be held to be contrary to or invalid

under the law of any country, state or other jurisdiction, such invalidity or illegality shall not in

any way affect any other provisions hereof, all of which shall continue, nevertheless, in full force

and effect in any country, state or jurisdiction in which such provision is legal and valid,

 

 

 

 

     

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ARTICLE X

LEGAL REPRESENTATION

10.1. The Wife has been represented by Law Offices of Yanina Tabachnikova, P.C.,
at 807 Kings Highway, 2Fl, Brooklyn, New York 11223, as her attorney, and the Husband has
chosen to proceed pro se after having been advised of her right to seek the aid of counsel in this

proceeding.

10.2 Bach party shall be solely responsible for payment of his or her own legal and
professional fees incurred in connection with this action and each party represents and warrants
that he or she has dealt with no other attorney for which services the other party is or may
become liable and will indemnify and hold the other party harmless of all loss, expense

including reasonable attorneys! fees) and damages in the event of a breach of said representation
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and warranty.

 

 

 

 

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ARTICLE XI

LEGAL INTERPRETATION

1i.All matters affecting the interpretation of this Addendum and the rights of the p

hereto shall be governed by the laws of the State of New York,

 

    

   

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ARTICLE XII
ENTIRE UNDERSTANDING

12. This Addendum modifies certain of the terms of the Separation Agreement . Apart
from these modifications, which are in full force and effect and are enforceable in the same
manner as the Scparation Agreement, the Separation Agreement contains the entire
understanding of the parties who hereby acknowledge that there have been and are no
representations, warranties, covenants or undertakings other than those expressly set forth herein.
The parties agree that the Addendum shall be executed upon the signing hereof and the same

may be filed in the Office of the County Clerk.

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ARTICLE X11

GENERAL PROVISIONS

13.1 This Addendum and all other obligations and covenants hereunder shail bind the
parties hereto, their heirs, executors, administrators, legal representatives and assigns, and shall
inure to the benefit of their respective heirs, executors, administrators, legal representatives and
assigns.

13.2 No modification, rescission or amendment to this Addendum shall be effective
unless in writing signed by the parties hereto.

13.3. This Addendum and its provisions, together with all schedules, exhibits,
documents and other instruments to be delivered herewith, sets forth the entire understanding
between the parties as to how the terms of the Separation Agreement have been modified,

13.4 This Addendum shall be governed by the laws of the State of New York.

13.5 Each of the parties hereto, without cost to the other, shall at any time and from
time to time hereafter execute and deliver any and all further instruments and assurances and
perform any acts that the other party may reasonably request for the purpose of giving full force
and effect to the provisions of this Addendum,

13.6 The parties acknowledge that they are entering into this Addendum freely and
voluntarily; that they have ascertained and weighed all the facts and circumstances likely to
influence their judgment herein; that they have sought and obtained legal advice independently
of each other; that they have been duly apprised of their respective legal rights; that all the

provisions hereof, the provisions of the Separation Agreement that the herein Addendum is

modifying, as well as all questions pertaining thereto, have been fully and satisfactorily

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explained to them; that they have given due consideration to such provisions and questions: and
that they clearly understand and assent to all the provisions hereof.

13.7 References in this Addendum to the provisions of any statute shall be deemed to
be references to said provisions as in effect on the date hereof, or if said provisions shall be
changed prior to a subsequent time as of which such reference is made, to any similar provisions
which shall be in effect at such subsequent time,

13.8 Each of the parties has read this Addendum prior to the signing thereof.

IN WITNESS WHEREOF, the parties and their attorneys hereto have hereunto set their

respective hands and signed this Addendum this day, month and year first above set forth.

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RAISA PREPLER VLADIMIR BINKEVICH

Wife Husband

INA TABAGHNIKOVA
Notary Publis, State of New York

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Qualified in Kings Goul

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YANINA, TABACHNIK
Notary Public, Slate of Now York

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ACKNOWLEDGMENT

STATE OF NEW YORK _)

COUNTY OF KINGS )

On this 5 day of ily in the year 2019 before me, the undersigned, a Notary Public in
and for said State, personally appeared RAISA PREPLER, personally known to me or proved to
me on the basis of satisfactory evidence to be the individual whose name is subscribed to the
within instrument and acknowledged to me that she executed the same in her capacity, and that
by her signature on the instrument, the individual, or the person upon behalf of which the

individual acted, executed the instrument,

YANINA TABAGHNIKOVA,
Notary Public, State of New York
No, 027A6190394
Qualified in Kings County

Commission Expires g / Pf Pero

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Notary Public

 

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ACKNOWLEDGMENT

STATE OF NEW YORK _ )
) ss:

COUNTY OF KINGS )

On this A day of uly in the year 2019 before me, the undersigned, a Notary
Public in and for said State, personally appeared VLADIMIR BINKEVICH, personally known to
me or proved to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that she executed the same in her
capacity, and that by her signature on the instrument, the individual, or the person upon behalf of

which the individual acted, executed the instrument,

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ALLOCUTION AFFIDAVIT OF RAISA PLEPLER

STATE OF NEW YORK _ )
SS.

COUNTY OF KINGS )

RAISA PLEPLER, being duly sworn according to law, deposes and says that she is the
individual described as “WIFE” and in the foregoing instrument and she makes this Affidavit in

acknowledgment thereof:

1. That she has carefully read this Addendum to the Separation Agreement of July Os,
2019, word for word, paragraph by paragraph,

2. That she fully understands its contents.

3. That she understands and appreciates the legal effect of her signature to this
Addendum to the Separation Agreement of July 5, 2019,

4. That this Addendum to the Separation Agreement of July 85; 2019 completely and
accurately expresses her understanding of the terms and provisions of the parties’
settlement, which she has arrived at with her husband.

5. That this Addendum to the Separation A greement of July 057 2019 expresses the
entire understanding and agreement between herself and her husband, without any

secret promises or other agreements or inducements not therein expressed or stated,

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as edited and /or modified Addendum to the main Separation Agreement executed by

parties on April 17, 2017.

6. That her assent to this Addendum to the Separation Agreement of July DS: 2019 was
reached after mature and careful deliberation and after consultation with counsel,
whereas she understands that Counsel did not provide any tax advice or consequences
following the preparation and execution of the Addendum. That she understands
and assents to the facts that her counsel did not provide any advice regarding any

future or present bankruptcy proceedings, which may be initiated by either party.

7, That her execution of this Addendum to the Separation Agreement of July 25: 2019
is voluntary and is of her own free act and deed.

8. That this Addendum to the Separation Agreement of July Os , 2019 is not the result
of any collusion between herself and her husband or between herself and any third
party or persons.

9, That neither the property settlement arrived at between her and her husband, nor her
signing and acknowledging of the foregoing Addendum to the Separation Agreement
of July A 2019 was occastoned, brought about or influenced by the use of any
duress, coercion or undue influence practiced, brought or exercised upon her in any
manner by any person whomsoever,

10. That she is not under the influence of any prescription medication or other drugs or
alcohol, which would impair my ability to understand the terms and conditions of this

Addendum to the Separation Agreement ofJuly 72 5019,

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11. That the Addendum to the Separation Agreement of July O5-a019 has been signed
voluntarily, after having thoroughly consulted with counsel regarding the terms
thereof.

12. That she is satisfied with the representation she has received from counsel in this

matter,

— hu'sq Plepler

Sworn to before me this

4 day of ec. , 2019.

Lede RQ.

Notary Public

 

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ALLOCUTION AFFIDAVIT OF VLADIMIR BINKEVICH

STATE OF NEW YORK _)ss.:
COUNTY OF KINGS }

VLADIMIR BINKEVICH , being duly sworn according to law, deposes and says that he
is the individual described as “AUSBAND” and in the foregoing instrument and he makes this

Affidavit in acknowledgment there of:

1. That he has carefully read this Addendum of Stipulation of Settlement, word for
word, paragraph by paragraph.

2, That he fully understands its contents.

3. That he understands and appreciates the legal effect of his signature to this
Addendum of Stipulation of Settlement completely and accurately expresses his
understanding of the terms and provisions of the parties” settlement, which he has
arrived at with his wife.

4. That this Addendum of Stipulation of Settlement expresses the entire understanding
and agreement between himself and his wile, without any secret promises or other
agreements or inducements not therein expressed or stated.

5. That his assent to this Addendum of Stipulation of Settlement was reached after
mature and careful deliberation, and after being advised to obtain consultation with
an independent counsel of his choice, whereas he understands that his Wife did
benefit from advise of her Counsel. That Wife or her Counsel did not provide any |

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tax advice or consequences following the preparation and execution of the
Addendum. That she understands and assents to the facts that her counsel did not
provide any advice regarding any future or present bankruptcy proceedings, which

may be initiated by either party.

6. That he has been advised to obtain his own individual counsel as this Addendum of
Stipulation of Settlement is a binding contract between him and his Wife that affects
his rights, interests and obligations. Whereas he understands that Counsel represented
his Wife and did not provide any tax advice or consequences following the
preparation and execution of the Addendum to his Wife. ‘That he has been advised to
obtain his own individual counsel to obtain counsels advice regarding any future or
present bankruptcy proceedings, which may be initiated by either party or any other
tax or additional and consequences as a result of entering into Addendum of
Stipulation of Settlement

7. That he understands that if he does not obtain advise of his own individual counsel
prior to signing this Addendum of Stipulation of Settlement he will be forever
barred from asserting any claims or rights in law and/or equity against the Wife or
any of the property divided, allocated and /or declared as separate and/or
contemplated by as individual by this Addendum of Stipulation of Settlement .

8. That he has at his own free will declined to obtain his own individual independent
counsel to represent him in connection with this Addendum of Stipulation of
Settlement , Divorce and equitable distribution or any other matrimonial matters

associated with this legal matter.

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9. That his execution of this Addendum of Stipulation of Settlement is voluntary and is
of his own free act and deed.

10. That this Addendum of Stipulation of Settlement is not the result of any collusion
between himself and his Wife or between himself and any third party or persons.

11. That neither the property settlement arrived at between him and his Wife, nor his
signing and acknowledging of the foregoing Addendum of Stipulation of Settlement
was occasioned, brought about or influenced by the use of any duress, coercion or
undue influence practiced, brought or exercised upon him in any manner by any
person whomsoever,

12. That he is not under the influence of any prescription medication or other drugs or
alcohol, which would impair my ability to understand the terms and conditions of this
Addendum of Stipulation of Settlement.

13. That the Addendum of Stipulation of Settlement has been signed voluntarily, after
having thoroughly read it and clearly understood its conditions regarding the terms
thereof.

14. That he is satisfied with the terms of the Addendum of Stipulation of Settlement.

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